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 5   Attorney for Defendant
     Eric Johnston
 6

 7                               UNITED STATES DISTRICT COURT

 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                    )   Case No.: 2:12-cr-0238-MCE
10   United States of America,                      )
                                                    )
11                  Plaintiff,                      )   STIPULATION TO CONTINUE
                                                    )   DATE FOR SENTENCING; TO RE-SET
12          vs.                                     )   THE DISCLOSURE SCHEDULE; ORDER
                                                    )   THEREON
13   Nicholas Perry and Eric Johnston,              )
                                                    )
14                  Defendants                      )
                                                    )   DATE: June 12, 2013
15                                                  )   TIME: 9:00 a.m.
                                                    )   JUDGE: Hon. Morrison E. England, Jr.
16                                                  )
                                                    )
17                                                  )
18

19          Sentencing was set for June 12, 2014. For various reasons, all parties need more time to
20   finalize and obtain responses to formal objections and then to prepare and file sentencing
21   memoranda. Therefore, it is requested that the date set for sentencing of June 12, 2014 be
22   continued to July 31, 2014. I have spoken to AUSA Kyle Reardon who agrees to this request
23   and further agrees that I may sign his name to it. U.S. Probation Officer Lisa Hage also agrees
24   with this request.
25




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 1          Therefore, after consulting all parties, we are requesting the Court continue the

 2   Sentencing Hearing now set for June 12, 2014 at 9:00 a.m. to the date of July 31, 2014 at 9:00

 3   a.m. and adopt the following disclosure schedule, to which all parties and U.S. Probation agree:

 4
            Judgment and Sentencing date:                                         July 31, 2014
 5
            Reply, or Statement of Non-Opposition                                 July 24, 2014
 6

 7          Motion for Correction of the Presentence Report shall
            be filed with the Court and served on the Probation
 8          Officer and opposing counsel no later than:                           July 17, 2014

 9          The Presentence Report shall be filed with the Court
            and disclosed to counsel no later than:                               July 10, 2014
10
            The proposed Presentence Report was previously disclosed to
11          counsel:                                                              May 12, 2014
12

13                                            STIPULATION
14          Plaintiff, United States, and Defendant, Eric Johnston, through their undersigned counsel,
15   hereby stipulate, agree, and request the Court re-set the date for sentencing in the above-
16   mentioned matter from June 9, 2014 to July 31, 2014 at 9:00 a.m. and the Court adopt the above-
17   described disclosure schedule.
18   IT IS SO STIPULATED.
19

20
     DATED:         June 3, 2014                   BENJAMIN B. WAGNER
                                                   United States Attorney
21
                                                   /s/ Kyle Reardon
22                                                 by Jan David Karowsky w/
                                                   Mr. Reardon’s approval
23
                                                   By
24
                                                   Kyle Reardon
25
                                                   Assistant U.S. Attorney



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 1   DATED:                 June 3, 2014                                   JAN DAVID KAROWSKY
                                                                           Attorney at Law
 2
                                                                           A Professional Corporation
 3
                                                                           /s/ Jan David Karowsky
 4
                                                                           By
 5
                                                                           JAN DAVID KAROWSKY
 6                                                                         Attorney for Defendant
                                                                           Eric Johnston
 7

 8
                                                                          ORDER
 9

10              Based	  on	  the	  Court’s	  findings	  and	  pursuant	  to	  the	  stipulation	  of	  the	  parties,	  the	  
11   Court	  hereby	  adopts	  the	  stipulation	  of	  the	  parties	  in	  its	  entirety	  as	  its	  order.	  	  Sentencing	  in	  
12   this	  matter	  is	  continued	  from	  June	  9,	  2014	  to	  July	  31,	  2014.	  	  The	  Presentence	  Report	  shall	  
13   be	  filed	  and	  disclosed	  to	  counsel	  not	  later	  than	  July	  10,	  2014.	  	  	   Any	  motion	  for	  correction	  
14   of	  the	  Presentence	  Report	  shall	  be	  filed	  with	  the	  Court	  and	  served	  on	  the	  Probation	  Officer	  
15   and	  opposing	  counsel	  no	  later	  than	  July	  17,	  2014.	  	  Any	  reply,	  or	  statement	  of	  non-­‐
16   opposition	  with	  respect	  to	  such	  motion	  is	  due	  by	  July	  24,	  2014.	  	  	  
17
                IT IS SO ORDERED.
18

19
     Dated: June 3, 2014
20

21

22

23

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                                                                               -3-
